Case 2:05-cr-20146-.]P|\/| Document 14 Filed 08/05/05 Page 1 of 2 Page|D 17

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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
Western Division

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UNITED STATES OF AMERICA

      

  

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-vs- Case No. 2:05cr20146-Ml
DONISHA HENSON
A/K/A KIANA MCGEE

 

ORDER OF DETENT|ON PEND|NG TR|AL
F|ND|NGS
In accordance with the Bail Reforrn Act, 18 U.S.C. § 3142(£), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

The defendant makes no application for release at this time. A motion for conditions
of release and a detention hearing may be filed at a later date.

DlRECT|ONS REGARD|NG DETENT|ON

DONISHA HENSON AfK/A KIANA MCGEE is committed to the custody of the Attorney General or his
designated representative for confinement in a corrections facility separate, to the extent practicable, from persons
awaiting or serving sentences or being held in custody pending appeal. DON!SHA HENSON A/K/A KIANA
MCGEE shall be afforded a reasonable opportunity for private consultation with defense counsel On order of a Court
of the United States or on request of an attorney for the govemment, the person in charge of the corrections facility shall
deliver the Defendant to the United States marshal for the purpose of an appearance in connection with a Court
proceeding

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Date: August 5, 2005

'[U M. PHAM
UNITED STATES MAGISTRATE JUDGE

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UNITED sTATE iSTRiC COUR - WESTERN D'S'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 14 iii
case 2:05-CR-20146 Was distributed by faX, mail, or direct printing on
August 8, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

